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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

*************************
ISABELLA ACOSTA,           *
                           *                         No. 19-1050V
               Petitioner, *                         Special Master Christian J. Moran
                           *
v.                         *
                           *                         Filed: September 9, 2020
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

                         ORDER CONCLUDING PROCEEDINGS1

       On September 8, 2020, petitioner moved for voluntary dismissal under Vaccine Rule
21(a). Petitioner submitted a stipulation of dismissal signed by all parties in accordance with
Vaccine Rule 21(a)(1)(B).

       Accordingly, pursuant to Vaccine Rule 21(a), the above-captioned case is hereby
dismissed without prejudice. The Clerk of the Court is hereby instructed that a judgment shall
not enter in the instant case pursuant to Vaccine Rule 21(a).

       IT IS SO ORDERED.


                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




1
  The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services), requires that the Court post this decision on its website
(http://www.cofc.uscourts.gov/aggregator/sources/7). Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
